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11                          UNITED STATES DISTRICT COURT
12                       SOUTHERN DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,               Case No. 18CR3677-W
14
15                                            UNITED STATES’ RESPONSE IN
           v.                                 OPPOSITION TO DEFENDANT’S
16                                            LATEST MOTION TO DISMISS OR, IN
17   DUNCAN D. HUNTER (1),                    THE ALTERNATIVE, TO RECUSE
                                              THE UNITED STATES ATTORNEY’S
18                                            OFFICE FOR THE SOUTHERN
                 Defendants.
                                              DISTRICT OF CALIFORNIA
19
20                                           DATE: March 17, 2020
                                             TIME: 9:00 AM
21                                           COURT: 3C (Schwartz)
22                                           HON. THOMAS J. WHELAN
23        In his latest filing, Hunter resurrects an argument previously denied by this Court
24 involving a routine invitation by the Secret Service to attend an event at which the agency
25 provided protective service.   Once again, though, he fails to establish a rational basis for
26 the Court to conclude that his indictment (for which he has pled guilty and accepted
27 responsibility) was motivated by anything other than legitimate prosecutorial
28 considerations. As such, Hunter’s motion should again be denied by this Court.
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 1                                                I.
 2                                   STATEMENT OF FACTS
 3             A.      The Secret Service Fundraiser
 4         In August 2015, the U.S. Secret Service extended a routine invitation to three career
 5 federal prosecutors (including then-Assistant U.S. Attorney Emily Allen and then-Chief of
 6 the Criminal Division Alana Robinson) to attend an event at which the agency was
 7 providing protective service. The event, held at a private home, was a breakfast fundraiser
 8 for then-candidate for President, Hillary Clinton. The AUSAs’ attendance was spurred and
 9 initiated entirely by the Secret Service. The federal prosecutors were not there as supporters
10 for Candidate Clinton. Attorney Gregory A. Vega—who later would represent Hunter in
11 this criminal case—attended the event as a paying contributor. During the event, he spoke
12 at length with the AUSAs who attended, and learned that the Secret Service had invited
13 their attendance.
14         This invitation was not unusual. For years, similar invitations to attend gatherings
15 and events on both sides of the political spectrum had been extended throughout “the entire
16 country without regard to political affiliation.” See Hunter Motion Transcript (Dkt. 76) at
17 11; Government’s June 2019 Response and Opposition (Dkt. 68) at 2. Indeed, the Secret
18 Service regularly asks federal prosecutors around the country to attend such events as part
19 of its “long standing practice of facilitating photograph opportunities [photo ops].” Id.1
20             B.      Initiation of the Federal Investigation into Hunter’s Campaign
21         Eight months later, on April 4, 2016, the Federal Election Commission (“FEC”) sent
22 a letter to Duncan D. Hunter’s campaign Treasurer asking for clarification about two
23 categories of expenses that had been disclosed in required FEC filings as “personal expenses
24 – to be paid back.” The FEC letter was first picked up by The San Diego Union-Tribune
25
           1
26          As previously noted, the Secret Service’s rationale for the invitation (including the
   photo opportunity) had been highly publicized, was well-recognized by all parties, and
27 reiterated in the United States’ prior pleading on this issue. See e.g., The San Diego Union-
28 Tribune, Secret Service explains why San Diego prosecutors were invited to Clinton
   fundraiser (August 24, 2018).
                                                  2
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 1 and swiftly resulted in an avalanche of public revelations regarding Hunter’s expenditures
 2 as enterprising reporters sifted through years of the Hunter campaign’s publicly-filed FEC
 3 reports.    Following up on these reports, Citizens for Responsibility and Ethics in
 4 Washington (“CREW”) sent a letter to the Office of Congressional Ethics (“OCE”)
 5 requesting an investigation into Hunter’s FEC filings.2
 6         Following the public release of CREW’s letter, AUSA Phillip L.B. Halpern (then-
 7 Chief of this Office’s Major Frauds and Special Prosecutions Section) informally discussed
 8 the possibility of opening up an investigation into potential improper spending by Hunter’s
 9 campaign with FBI Special Agent Erin Phan. In turn, Agent Phan discussed this possibility
10 with her boss, then-FBI Supervisory Special Agent (“SSA”) Joey Mignon (who was then in
11 charge of San Diego Field Office’s Public Corruption squad). Agents Phan and Mignon
12 determined that the matter warranted additional review.
13         In early May 2016, Special Agent Phan informally discussed a possible investigation
14 into the Hunter campaign with Richard Pilger, the Director of Elections Crimes at the
15 Department of Justice. Based upon her description of the investigation, Pilger suggested
16 that Special Agent Phan take the required steps to officially open up the investigation.
17 Agent Phan relayed this suggestion to SSA Mignon.
18         On May 18, 2016, SSA Mignon contacted AUSA Halpern to discuss the United
19 States Attorney’s office willingness to open an investigation into Hunter’s campaign
20 spending. After discussing the various allegations contained in the CREW letter, Halpern
21 indicated that the matter warranted opening an official investigation.         SSA Mignon
22
23         2
              CREW’s 11-page letter detailed how Hunter’s campaign had already acknowledged
24   impermissibly spending more than $10,000 on personal expenses. The letter then went on
     to note an array of other suspicious expenditures, including: (1) thousands of dollars in
25   payments to hotels and restaurants in Rome, Florence, and Positano – as well as other
26   suspect travel costs; (2) a payment to a jewelry store in Florence; (3) payments to a beach
     resort in Lahaina, Hawaii; (4) a $1,137 charge to the Center for Oral & Facial Surgery;
27   (5) Cox internet bills; (5) various retail stores such as Nordstrom, Macy’s, Barnes & Noble,
28   and Educational Outfitters; and (6) $116,000 in campaign management service payments to
     Margaret Hunter. See Exhibit 1 (April 28, 2016 CREW letter to OCE).
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 1 concurred and assigned Agent Phan and Special Agent Nicole McAfee to look into opening
 2 a Sensitive Investigative Matter (“SIM”) focusing on the illegal use of campaign funds by
 3 a federal public official. AUSA Halpern also informed SSA Mignon that it was his intention
 4 to discuss with AUSA Emily Allen the possibility of assigning her to the investigation.
 5 Thereafter, Special Agent McAfee began reviewing publicly available records (including
 6 Hunter’s publicly-available FEC filings) that could inform their investigative decisions.
 7        On June 2, 2016, Agent Phan contacted AUSA Halpern to obtain his official
 8 concurrence to open a SIM into the misappropriation of funds by the Hunter Campaign.
 9 The following day, Agent Phan sent an email to AUSA Halpern confirming their
10 conversation regarding opening the investigation. In her email, Agent Phan thanked AUSA
11 Halpern for concurring with the decision to open up the investigation. On June 9, 2016,
12 based on the media’s findings, the CREW report, and preliminary investigation by the FBI,
13 AUSAs Halpern and Allen sought approval from the Department of Justice, Criminal
14 Division, Public Integrity Section (“PIN”) to open an investigation.      PIN’s Director of
15 Election Crimes, Richard Pilger, concurred officially with the request the following day.
16        On June 14, 2016, Agent Phan sent an electronic communication to FBI Headquarters
17 (with a copy forwarded to PIN) confirming that the San Diego Field Office in conjunction
18 with the United States Attorney’s Office was opening a full investigation into Hunter’s
19 campaign spending. The request indicated that the officials reviewing and approving the
20 investigation were FBI Assistant Special Agent-in-Charge Daron Borst, Chief Division
21 Counsel Michael Leshnower, and Supervisory Special Agent Joey Mignon.                   The
22 communication also specifically noted that DOJ attorney Richard Pilger and AUSA Phillip
23 Halpern concurred with opening the sensitive investigative matter.
24            C.     Hunter’s First Motion to Recuse the USOA-SDCA
25        On June 24, 2019, Hunter filed his first Motion to Dismiss or, in the alternative, to
26 Recuse this Office (“First Recusal Motion”) based upon AUSAs Emily Allen and Alana
27 Robinson’s attendance at the August 2015 Clinton event. See Hunter’s First Recusal
28 Motion (Dkt. 36-1). In his motion, Hunter recognized that the two federal prosecutors:

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 1 (1) did not contribute—or otherwise make any payment—to the Clinton campaign; and
 2 (2) availed themselves of the opportunity to take a picture with the candidate, i.e.,
 3 participated in a “Photo Op.” Id. at 5-6, 9; Exhibit 2 (“You do not need to bring anything
 4 to the site [and will be led] inside to the photo op room.”).
 5         On June 28, 2019, the United States filed its Response to Hunter’s First Recusal
 6 Motion. See Dkt. 68. In this response, it confirmed that the two federal prosecutors were
 7 attending the Clinton event at the invitation of the U.S. Secret Service – which regularly
 8 asks federal prosecutors to attend such events. Significantly, the United States made it clear
 9 that the prosecutors’ participation involved the Secret Service’s “long standing practice of
10 facilitating photograph opportunities” with its law enforcement partners; and noted the
11 Secret Service’s statement that it asks federal prosecutors to attend “protective mission
12 events” in case an incident might arise for which legal guidance is needed. See June 2019
13 Response and Opposition (Dkt. 68) at 2.
14         On July 8, 2019, this Court held oral argument on Hunter’s Recusal Motion. See Dkt.
15 76. At the hearing, Hunter’s counsel reiterated the uncontested facts. In doing so, he once
16 again revealed that Hunter was aware that the federal prosecutors were not there as
17 supporters of Candidate Clinton, but for a photo op at the invitation of the Secret Service.
18 See Hunter Motion Transcript (Dkt. 76) at 6, 8. Following oral argument, this Court denied
19 Hunter’s Motion finding, inter alia, that there was no conflict of interest and the government
20 had probable cause to commence the investigation in any event. Id. at 4-6, 14-15.
21            D.     Hunter’s Second Motion to Recuse the USOA-SDCA
22         On March 3, 2020, Hunter filed his second Motion to Dismiss or, in the alternative,
23 to Recuse this Office (“Second Recusal Motion”), Dkt. 126. This motion was again based
24 upon the two federal prosecutors’ attendance at the August 2015 Clinton event. Id.
25 Hunter’s Second Recusal Motion repeats almost verbatim the allegations and arguments
26 contained in his First Recusal Motion.
27         The only real difference in the two pleadings was that his Second Recusal Motion
28 attached a handful of additional emails (received pursuant to a FOIA request initiated by

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 1 Judicial Watch), which confirmed that: (1) the prosecutors were attending at the request of
 2 the Secret Service; and (2) the Secret Service were very gracious hosts. See Second Recusal
 3 Motion at Exhibit 2. Significantly, Hunter failed to produce any new evidence that was not
 4 abundantly clear and fully admitted by the United States the last time this issue was brought
 5 before the Court.3
 6                                                 II.
 7                                            ANALYSIS
 8             A.     Legal Argument
 9         The handful of additional emails attached to Hunter’s Second Recusal Motion merely
10 confirm the operative facts relied upon by this Court in denying his First Recusal Motion.
11 Once again, they establish that the federal prosecutors attended the event, not as supporters
12 or contributors, but due to a Secret Service invitation to take a picture with the candidate.
13 If anything, the additional emails demonstrate that the Court’s factual and legal analysis
14 was eminently sound.
15         The emails—while adding a bit of gloss—simply confirm the operative facts. It is
16 irrelevant that they also establish that: (i) there was “a lot of traffic on La Jolla Parkway
17 between 7:30 am and 8:30 am;” (2) the federal prosecutors offered to bring coffee; (3) the
18 Secret Service were incredibly hospitable; (4) the event was a fabulous party; and (5) the
19 federal prosecutors did not expect to be invited into the house where the event was held.
20 Although these details may be amusing, they do nothing to change the Court’s analysis.
21         Put simply, nothing has changed. Last time around, this Court recognized that solid
22 Supreme Court precedent required that Hunter’s First Recusal Motion be denied. See
23
           3
24            The lack of any new information is unsurprising as Hunter’s counsel was, as noted,
     present as a paying contributor at the fundraiser. In this capacity, attorney Vega spoke at
25   length with the AUSAs who attended, and was thus well aware since August 2015 that the
26   Secret Service invited their attendance. Without question, Hunter’s counsel (who was a
     former U.S. Attorney) would have attended many similar “photo ops” with various elected
27   officials and candidates for federal office. To say the least, the United States finds it ironic
28   that Hunter continues to act surprised about the parameters of an event in which his own
     counsel participated.
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 1 Hunter Motion Transcript (Dkt. 76) at 4-6, 14-15 (AUSAs Robinson and Allen had no
 2 potential for financial gain, citing Young v. United States ex rel. Vuitton et Fils S.A., 481
 3 U.S. 787, 807 (1987)). This time around, Hunter fails to raise any new arguments (or, for
 4 that matter, facts) suggesting that the Court’s ruling was inaccurate. Accordingly, his latest
 5 Recusal Motion must be denied. See June 2019 Response and Opposition (Dkt. 68) at 2-8.
 6            B.      Initiation of Hunter Investigation
 7         It is clear that—as a legal matter—Hunter’s Second Recusal Motion must be denied.
 8 Nevertheless, the United States feels constrained to comment on Hunter’s continuing
 9 misconception that “both [AUSAs] were involved in initiating an investigation of the first
10 Congressman to endorse candidate Trump,” see Hunter’s Second Recusal Motion at 8, and
11 that “the prosecutors who initiated the investigation had a conflict of interest.” Id. at 9. This
12 is simply not true.
13         Interestingly, this Court previously recognized that the investigation into Hunter’s
14 improper campaign spending was, in fact, begun by the FEC letter:
15         There seems to be no question that this incident allegedly came to light, the
16         first violation, I should say, in early 2016 as a result of the Federal Election
           Commission sending a letter to Mr. Hunter’s campaign treasurer regarding
17         disbursement of campaign funds for school and a video game company. That
18         particular inquiry received national attention almost immediately.
19 See Hunter Motion Transcript (Dkt. 76) at 4. Following this letter (and based upon
20 additional news coverage and the CREW letter), the decision to open up an investigation at
21 the U.S. Attorney’s Office was first made by AUSA Phillip Halpern (Chief of the Major
22 Frauds Section), and approved by Richard Pilger (DOJ Public Integrity Director, Election
23 Crimes). At the same time, a panoply of officials at the FBI, including Assistant Special
24 Agent-in-Charge Daron Borst, Supervisory Special Agent Joey Mignon, and FBI Chief
25 Division Counsel Michael Leshnower, made the decision to open an FBI investigation.
26       Furthermore, even if AUSAs Allen and Robinson had initiated this investigation, it

27 matters naught. Indeed, it does a disservice to our system of Justice to assume that simply
28 because career prosecutors, agents, or for that matter judicial officers, supported—or voted

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1 for—a particular candidate of one party that they would be unable thereafter to investigate
2 or preside over a trial of any politician that belonged to a different party, let alone require
3 the recusal of an entire office. This line of thinking is anathema to the democratic process
4 and antithetical to the fair administration of justice.
5         DATED: March 10, 2020.
                                                   Respectfully submitted,
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7                                                  DAVID D. LESHNER
                                                   Attorney for the United States
8
9                                                  Phillip L.B. Halpern
10                                                 EMILY W. ALLEN
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